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                                           10
                                                                     UNITED STATES DISTRICT COURT
                                           11
ADLI LAW GROUP, P.C.




                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                           12
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                                           13 LUBBY HOLDINGS LLC, a Delaware
                        (213) 623-6546




                                                                                             Case No: 2:18-cv-00715-RGK-JC
                                           14 limited liability company; VAPOROUS
                                                TECHNOLOGIES, INC., a Delaware
                                           15 corporation;                                   PLAINTIFF’S SUPPLEMENTAL
                                           16                      Plaintiff,                RULE 26(e) DISCLOSURES
                                                                                             RELATING TO DAMAGES
                                           17                vs.                             CALCULATIONS
                                           18
                                                HENRY CHUNG, an individual; MING
                                           19 CHEN, an individual; DEEPVAPES,

                                           20 INC., a California Corporation d/b/a
                                              BOOM VAPORIZER; DOES 1-10,                     Complaint Filed: January 26, 2018
                                           21 inclusive,

                                           22             Defendants.
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                                                                   PLAINTIFF’S RULE 26(e) SUPPLEMENTAL DISCLOSURES
2087.204
                                         Case 2:18-cv-00715-RGK-JC Document 62 Filed 05/06/19 Page 2 of 4 Page ID #:536




                                            1        Plaintiff, doing business under his corporate entity, is in the business of
                                            2 making, selling, marketing and distributing vaporizer products, including certain

                                            3 mechanical or electronic products that are invented and designed by Plaintiff. United

                                            4 States Patent No. 9,750,284 (the “’284 Patent”), entitled “Personal Vaporizer,” was

                                            5 duly and legally issued by the United States Patent and Trademark Office to Lubby

                                            6 on September 5, 2017.       Lubby is the exclusive owner of the ’284 patent and
                                            7 VAPOROUS TECHNOLOGIES, INC., is a nonexclusive licensee and both have the

                                            8 right to bring this suit to recover damages for any current or past infringement of

                                            9 these patents.

                                           10        Plaintiffs Lubby Holdings LLC, a Delaware limited liability company and
                                           11 Vaporous Technologies, Inc., a Delaware corporation (“Plaintiffs”), serve this
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                                           12 Supplemental Disclosure Statement Relating to damages calculations pursuant to Fed.
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                                           13 R. Civ. Pro. 26(a)(1)(A)(iii) and 26(e) based on the information reasonably available
                        (213) 623-6546




                                           14 to them at the time of service of this Supplemental Disclosure. Plaintiffs make this

                                           15 disclosure to the best of their abilities and reserve the right to supplement this

                                           16 disclosure under Fed. Rules of Civl Pro. 26(e).

                                           17                              GENERAL STATEMENT
                                           18        By making these disclosures, Plaintiffs does not waive any applicable
                                           19 privilege, work product or other objection, and reserve their right to object to the

                                           20 production or admissibility of any information included in the categories

                                           21 described below. Subject to this general statement and the reservation of rights

                                           22 therein, Plaintiffs provides the following information:

                                           23     A. Fed. R. Civ. P. 26(a)(1)(A)(iii): Computation of Damages
                                           24        Plaintiffs seek damages for patent infringement based on the following
                                           25 computations and calculations:

                                           26        1. Lost Profits:
                                           27           a. Wholesale: ($16.50 (Plaintiffs’ 2016 wholesale price per unit for
                                           28               competitive product line to accused products containing Patent ‘284) -
                                                                                          1
                                                                   PLAINTIFF’S RULE 26(e) SUPPLEMENTAL DISCLOSURES
1013.210
                                         Case 2:18-cv-00715-RGK-JC Document 62 Filed 05/06/19 Page 3 of 4 Page ID #:537




                                            1             $5.50 (Plaintiffs’ 2016 cost per unit of competitive product line to
                                            2             accused products with Patent ‘284)) x (36,453 (number of accused
                                            3             products sold by Defendants) x 62% (Plaintiffs’ percentage of overall
                                            4             sales of competitive product line sold at the wholesale level)) =
                                            5             $248,611.
                                            6          b. Retail: (($45 (Plaintiffs’ 2016 retail price per unit for competitive
                                            7             product line to accused products containing Patent ‘284) - $5.50
                                            8             (Plaintiffs’ 2016 cost per unit of competitive product line to accused
                                            9             products with Patent ‘284)) x (36,453 (number of accused products
                                           10             sold by Defendants) x 38% (Plaintiffs’ percentage of overall sales of
                                           11             competitive product line sold at the retail level)) = $547,154.
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                                           12          c. Total Lost Profits (Wholesale and Retail): $795,765
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                                           13       2. Reasonable Royalty: (($45 (Standard per unit retail price of competitive
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                                           14         product line to accused products containing Patent ‘284) - $16.50
                                           15         (Plaintiffs’ 2016 wholesale price of competitive product line to accused
                                           16         products with Patent ‘284)) x 60% (Plaintiffs’ royalty rate) x 36,453
                                           17         (number of accused products sold by Defendants) = $623,346.30.
                                           18       3. Plaintiffs will also seek costs incurred in this action, including its attorneys'
                                           19         fees, and expert fees, which is determined by actual hard costs (filing fees,
                                           20         expert fees, etc.) plus reasonable attorney's fees under the Octane standard,
                                           21         as determined by multiplying the hours attorneys spend working on this
                                           22         case by their hourly rates.
                                           23

                                           24                                        ADLI LAW GROUP, P.C.
                                           25 Dated: May 6, 2019                     By /s/ Drew H. Sherman
                                           26                                           Dariush Adli
                                                                                        Drew H. Sherman
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                                                                                        Joshua Eichenstein
                                           28                                           Attorneys for Plaintiffs
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2087.204                                                           PLAINTIFF’S RULE 26(e) SUPPLEMENTAL DISCLOSURES
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                                            6                                 PROOF OF SERVICE
                                            7        I am over eighteen (18) years of age, employed in the County of Los Angeles,
                                            8 and not a party to this action. My business address is 444 South Flower Street, Suite
                                              3100, Los Angeles, California 90071. I hereby certify that on May 6, 2019, I served
                                            9 the following documents:

                                           10
                                                     PLAINTIFFS’ SUPPLEMENTAL DISCLOSURES RELATING TO
                                           11                      DAMAGES CALCULATIONS
ADLI LAW GROUP, P.C.




                                           12
                                                By delivering the document(s) to:
                       www.adlilaw.com




                                           13
                        (213) 623-6546




                                           14                              Jen-Feng Lee (SBN: 204328)
                                                                            LT Pacific Law Group LLP
                                           15                            17800 Castelton Street, Suite 560
                                                                         City of Industry, California 91748
                                           16                               Telephone: (626) 810-7200
                                                                             Facsimile: (626) 810-7300
                                           17                                 jflee@ltpacificlaw.com

                                           18
                                           19         BY E-MAIL. I sent an electronic mail with the document referenced above to
                                                the email addresses listed.
                                           20

                                           21         I declare, under penalty of perjury under the laws of the United States, that the
                                                foregoing is true and correct. Executed May 6, 2019 at Los Angeles, California.
                                           22

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                                           26                                                  /s/Drew H. Sherman
                                           27                                             Drew H. Sherman

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2087.204                                                             PLAINTIFF’S RULE 26(e) SUPPLEMENTAL DISCLOSURES
